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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

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 ONYX THERAPEUTICS, INC.

                 Plaintiff,

         V.

 BRECKENRIDGE PHARMACEUTICAL,                              Civil Action Nos. 16-988 (LPS), 16-1001
 INC.,                                                     (LPS), 18-0262 (LPS), 19-007l (LPS)

                          Defendant.
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                                        CONSENT JUDGMENT

                 Onyx Therapeutics, Inc. ("Onyx"), and Breckenridge Pharmaceutical, Inc.

 ("Breckenridge"), parties in the above-captioned action, have agreed to terms and conditions

 representing a negotiated settlement of this action and have set forth those terms and conditions in a

 Settlement Agreement (the "Settlement Agreement").             Now the parties, by their respective

 undersigned attorneys, hereby stipulate and consent to entry of judgment and an injunction in this

 action as follows:              1l--       ~6-.,


                 !TIS this \   '1, day of         1,, 2019:
                 ORDERED, ADJUDGED AND DECREED as follows:

                 1.       This District Court has jurisdiction over the subject matter of the above action

 and has personal jurisdiction over the parties.

                 2.       As used in this Consent Judgment, (i) the term "Breckenridge Product" shall

 mean a drug product sold, offered for sale or distributed pursuant to Abbreviated New Drug

 Application No. 209330 or any supplement or amendment thereto (and defined in greater detail in

 the Settlement Agreement) ; and (ii) the term "Affiliate" shall mean, with respect to a Party, any
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 entity or person that, directly or indirectly through one or more intermediaries, controls, is controlled

 by, or is under common control with such Party. For purposes of this definition, "control" means (a)

 ownership, directly or through one or more intermediaries, of (i) more than fifty percent (50%) of the

 shares of stock entitled to vote for the election of directors, in the case of a corporation, or (ii) more

 than fifty percent (50%) of the equity interests in the case of any other type of legal entity or status

 as a general partner in any partnership, or (b) any other arrangement whereby an entity or person has

 the right to elect a majority of the board of directors or equivalent governing body of a corporation

 or other entity or the right to direct the management and policies of a corporation or other entity.

                 3.      Except as specifically authorized pursuant to the Settlement Agreement,

 Breckenridge, including any of its Affiliates, successors and assigns, is enjoined from infringing

 United States Patent Numbers 7,417,042, 7,737,112, and 8,207,125, on its own part or through any

 Affiliate, by making, having made, using, selling, offering to sell, importing or distributing the

 Breckenridge Product.

                 4.      Compliance with this Consent Judgment may be enforced by Onyx and

 Breckenridge and their successors in interest, or assigns, as permitted by the terms of the Settlement

 Agreement.

                 5.      This Court retains jurisdiction to enforce or supervise performance under this

 Consent Judgment and the Settlement Agreement.

                 6.      The Complaint and all claims, counterclaims, and affirmative defenses in this

 action by either Onyx or Breckenridge, including Breckenridge' s counterclaims and affirmative

 defenses concerning unclean hands, litigation misconduct, and inequitable conduct, are hereby

 dismissed with prejudice without costs, disbursements or attorneys' fees to any party.
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 MORRIS, NICHOLS, ARSHT & TuNNELL LLP       RICHARDS,   LAYTON & FINGER, P.A.

 /s/ 'J(aren Jaco6s                         / s/ Xft[[y P.. <Farnan

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                                              Breckenridge Pharmaceutical, Inc.


 May 10, 2019

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                                        The Honbfa.£-rQard P. Stark
